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 1   DOUGLAS I. HORNGRAD
     Attorney at Law
 2   (CA State Bar No. 95086)
     Maybeck Building Four
 3   1736 Stockton Street
     San Francisco, CA 94133
 4   Telephone: (415) 397-9509
     Facsimile: (415) 397-9519
 5
     Attorney for Defendant
 6   MARIA TURNEY
 7
 8
                                UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     Chief Magistrate Judge James Larson
                                                   U.S. District Court
12                 Plaintiff,
                                                   Case No. CR06-0266-CRB
13          v.
                                                   STIPULATION AND [PROPOSED]
                                                                   XXXXXXXXX
14   MARIA TURNEY, et al.,                         ORDER RE TRAVEL
15              Defendants.
     _____________________________/
16
17
18          IT IS HEREBY STIPULATED between the parties that defendant Maria Turney
19   may travel to Anaheim County, California, commencing Saturday, July 22, 2006, and
20   returning Wednesday, July 26, 2006, and Shelby County Tennessee, commencing Thursday,
21   July 27, 2006, and returning Saturday, July 30, 2006. This travel has been approved by
22   Pretrial Services Officer Michelle Nero. For this travel, Ms. Turney shall inform the Pretrial
23   Services Officer of her itinerary and lodging arrangements, in advance, and provide contact
24   numbers where she can be reached at each destination. Ms. Turney shall contact the Pretrial
25   //
26   //
27   //
28   //
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 1   Services Officer on the day of her departure to and return from each destination.
 2
 3
 4   Dated: 7/6/06                                    /s/ Douglas Horngrad
                                                      DOUGLAS I. HORNGRAD
 5                                                    Attorney for Defendant
                                                      MARIA TURNEY
 6
 7
 8   Dated: 7/6/06                                    /s/ David Hall
                                                      DAVID HALL
 9                                                    Assistant United States Attorney
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            IT IS SO ORDERED.




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               7-7-06
     Dated: _______________                           ______________________________
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                                                              Jud LARSON
                                                      HON. JAMES




                                                                                             FO
15
                                                      Chief Magistrate Judge
                                                      RT




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                                                      United States District Court
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